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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION
UNITED STATES OF AMERICA                   )
                                           )
                  v.                       )     Cause No. 2:16 CR 150 JVB
                                           )
MARLONN HICKS                              )
           RESPONSE TO DEFENDANT’S SUPPLEMENTAL
                 SENTENCING MEMORANUDUM
      The United States of America, by its attorney, Thomas L. Kirsch II,

United States Attorney for the Northern District of Indiana, through Assistant

United States Attorney Joshua P. Kolar, respectfully submits the following

Supplemental Sentencing Memorandum and Response to the Defendant’s

Supplemental Sentencing Memorandum.


      As the Defendant’s Supplemental Sentencing Memorandum (Docket

Entry 56) demonstrates, the unique facts of cases charging violations of Title

18, United States Code, Section 842(p)(2) (“§ 842(p)”) (distributing information

on the manufacture or use of an explosive or destructive device) result in

significant, although somewhat varied, sentences. In addition to the cases

cited by the Defendant, the government notes that in all candor violations of

Title 18, United States Code, Section 2339B (“§2339B”) (material support to a
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terrorist organization) and other assorted code sections raise many of the same

sentencing factors as violations of §842(p).


      A recent unpublished opinion in United States v. Jumaev provides a

useful summary of sentencings in cases involving terrorism allegations. Cause

Number: 12-CR-33, 2018 WL 3490886, (D.C. Colo., July 18, 2018) (Case

Appendix listing recent sentencings in terrorism cases). In reviewing an

exhaustive list of sentencings in terrorism matters, the Jumaev court looked

to those cases that involved financial contributions. Id. at *17 (“The following

material support cases are similar to this case in that they all involve financial

contributions. . .) The Jumaev court ultimately imposed a sentence of time

served.


      The Jumaev court rejects many of the government’s arguments in the

present case. However, during the July 16, 2018 sentencing hearing, the Court

asked for a summary of sentencings in terrorism cases and that is exactly what

Jumaev provides. Looking to sentencings in §842(p) cases, or the arguably

factually analogous §2339B sentencings, is a useful and necessary part of

fashioning a sentence for the Defendant. Title 18, United States Code, Section

3553(a) calls for such a review. Nevertheless, focusing narrowly upon Jumaev

and the cases upon which it relies would risk equating financial support with

the Defendant’s active planning of an act of terrorism in the United States.
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For the reasons set forth in the government’s Sentencing Memorandum

(Docket Entry 27), the Defendant’s actions in planning an act, or acts, or

terrorism created a threat to public safety that calls for a significant sentence.


Respectfully submitted,


                                     Thomas L. Kirsch II
                                     UNITED STATES ATTORNEY


                               BY:   /s/Joshua P. Kolar
                                     Joshua P. Kolar
                                     Assistant United States Attorney
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                      CERTIFICATE OF SERVICE


       I hereby certify that on August 13, 2018, I filed the above caption
RESPONSE TO DEFENDANT’S SUPPLEMENTAL SENTENCING
MEMORANUDUM through electronic process, with a service copy emailed to
the following:
Scott L. King


Respectfully submitted,


/s/Joshua P. Kolar
Joshua P. Kolar
Assistant United States Attorney
